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             EXHIBIT D
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                                             Learn about your letter at WWW.msprc.info
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                  MS PRC                                                                            CCtmrtS for MECKASCS MEDICAIDSlftVJCCS




                   May 3,2013



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                      FIEGER, FIEGER, KENNEY
                       19390 W. TEN MILE                                                       *COPY*
                      SOUTHFIELD, MI 48075                                                          For Information Only




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                      MILDA E MATTILA




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                      984 HEARTHSIDE ST
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                      SOUTH LYON, MI 48 1 78-204 1




                   Beneficiary Name:             MATTILA, MILDA E
                   Medicare Number:              384123594B
                   Case Identification Number:   20130 85090 00178
                   Date of Incident:             June 01, 2012


                   Dear MILDA E MATTILA:


                   This letter follows a previous letter notifying you of Medicare's priority right to recovery as
                   defined under the Medicare Secondary Payer provision.       To date, Medicare has not paid any
                   claims that currently appear related to the beneficiary's pending settlement, judgment, or award
                   for the above-referenced incident.


                   It is possible that Medicare may have paid claims related to the date of incident but may not have




          MSPRC LIABILITY                                                                                                 SGLB08NGHP
          PO BOX 138832                                                                                                          Page 1 of 3
          OKLAHOMA CITY, OK 731 13
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• MSPRC                                                                                   CENTERSfoeMEDKAXE 8 MED'CAIDSERVICES




      been retrieved and/or included for the following reasons: the nature of the injury or illness has not
      been provided or is incomplete, or all claims have not been submitted by the providers. However,
      Medicare may pay related claims in the future.       Therefore, when the case does settle, please
      complete the attached, "Final Settlement Detail Document" and return it to us.      Upon receipt of
      the completed documents, we will perform a final search of Medicare claims history and notify
      you if a refund is due Medicare.


      Please note: If the underlying claim involves ingestion, exposure, implantation, or other
      non-trauma based injury, Medicare may have excluded the paid claims related to your case.
      Please contact the MSPRC immediately with a description of the injury so that we may
      associate the appropriate claims with the case.


      Should conditional payment information become available, it will be posted under the "MyMSP"
       tab of the www.mvmedicare.gov website.        The information at www.mvmedicare.gov will be
      updated weekly with any changes or newly processed claims.         If you wish, you may track the
      medical expenses that were paid by Medicare, and if you have an attorney or other representative,
      provide him/her with this information.    This may help you/ your attorney with finalizing your
      settlement.



      If you have any questions concerning this matter, please call the Medicare Secondary Payer
       Recovery Contractor (MSPRC) at 1-866-677-7220 (TTY/TDD: 1-866-677-7294 for the hearing
      and speech impaired) or you may contact us in writing at the address below.       When sending any
      correspondence please provide the Beneficiary Name, Medicare Health Insurance Claim Number
      (the number on the Medicare card), and Case Identification Number (if known). This will allow us
      to associate the correspondence to the appropriate records.



       Sincerely,




      MSPRC
      Enclosure: Final Settlement Detail Document




      CC: FIEGER, FIEGER, KENNEY




MSPRC LIABILITY                                                                                               SGLB08NGHP
PO BOX 138832                                                                                                        Page 2 of 3
OKLAHOMA CITY, OK 73 1 13
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                                                                                                                   C/WSJ_
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                  MSPRC                                                                              CO/TBSforMEDICARE S MEDICAIDSERVICES




                   Final Settlement Detail Document

                   Beneficiary Name: MATTILA, MILDA E
                   Medicare Number: 384123594B
                   Date of Incident:     June 01, 2012


                   When a beneficiary receives a settlement, judgment, award, or other payment, Medicare is
                   entitled to recover associated payments made by the Medicare program. If certain conditions are
                   met, Medicare reduces its conditional payment to take into account a proportionate share of the
                   costs incurred in resolving the beneficiary's claim.      See 42 C.F.R. 411.37.    In general, the
                   recovery demand must be against the individual or entity that received payment, the costs must
                   have been incurred because the matter was disputed, and the costs must be paid by the individual
                   or entity against whom/which Medicare seeks recovery.       There is no proportionate reduction if
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m                  payment is not in dispute - for example a payment for no-fault insurance.
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                   In order for Medicare to properly calculate the net refund it is due, please supply the information
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                   outlined below.     This information will also be used to update the beneficiary's records to show




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                   resolution of this matter.   If you have a representative, this information should be submitted by
CO                 your representative on his/her letterhead.


                   Total Amount of the Settlement:
                   Total Amount of Med-Pay or PIP:
                   Attorney Fee Amount Paid by the Beneficiary:
                   Additional Procurement Expenses Paid by the Beneficiary:
                     (Please submit an itemized listing of these expenses)
                   Date the Case Was Settled:                                                                  /
                   Description of Injuries:


                   This information should be submitted along with a copy of this notice to:


                                                         MSPRC LIABILITY
                                                         PO BOX 138832
                                                         OKLAHOMA CITY, OK 731 13


                   If you have any questions concerning this matter, please call the Medicare Secondary Payer
                   Recovery Contractor (MSPRC) at l-866-677-7220(TTYATDD: 1-866-677-7294 for the hearing
                   and speech impaired) or you may contact us in writing at the address above. If you contact us in
                   writing, please be sure to include the beneficiary's name and his/her Medicare health insurance
                   claim number.




          MSPRC LIABILITY                                                                                                SGLB08NGHP
          PO BOX 138832                                                                                                         Page 3 of 3
          OKLAHOMA CITY, OK 73 1 1 3
